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MRN: 4433670

Lynch-Ulett, Cynthia
SCOTT AND WHITE DOB: 12/26/1950

Temple Clinic Note

DATE OF SERVICE: 08/05/2004

PLAN:

1. She will continue to follow up longitudinally with Physical Medicine and Rehabilitation as
necessary.

2. | have asked her to restart her antihypertensive (previously diagnosed).

3. We discussed use of medications such as Neurontin and amitriptyline. Use of these
medications has apparently been discussed with her in the past (per the archival). She
apparently refused treatment with amitriptyline because she is aware that it is used also as
an antidepressant. Today she has agreed to a trial of Neurontin after discussing potential
side effects. She will start with 1 OO mg. ner day, and this medication may be adjusted into
the range of 300 to 600 to 1200 mg per daydepending upon her response, and tolerance.
Further adjustments at this-point may be mat e by her primary physician or by Physical
Medicine and Rehabilitation.

4. Again, | have stressed close followup with her-primary physician to assess and treat her
vascular risk factors, including elevated blood pressure.

Electronically signed by
Jeffrey W Clark, DO 08/09/2004 15:03

Jeffrey W Clark, DO /125
254-724-2111 oO
dd: 08/05/2004 3:05P dt: 08/06/2004 12:31 P

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Ra SCOTT & WHIT

OUTPATIENT NOTES Sg.

MRN: 4433670

Temple
ch-Ulett, Cynthia D
Emergency Department tn DOB 1281950

DATE OF SERVICE: 05/12/2002

PRIMARY CARE PROVIDER:
Not listed.

CHIEF COMPLAINT:
The patient is 51-year-old female who presents with a chief complaint of head, neck, and
elbow pain.

HISTORY OF PRESENT ILLNESS: walking from het in a parki
The patient states approximately thrae days ago she was carina ng
lot at work when a car backed in to her. She was pushed to the ground. She bumped her
head, fell on her bilateral hands and elbows, and feit.pain in her- left shoulder. Since then,
she has had some diffuse myalgias. She does compiain of some cervical neck pain, There
was no loss of consciousness at the scene. Really no other associated injury.

REVIEW OF SYSTEMS:
Remainder of review of systems is negative.

PAST MEDICAL HISTORY:
Noncontributory.

CURRENT MEDICATIONS: xf
None.

ALLERGIES:
No known drug allergies.

SOCIAL HISTORY:
The patient is a resident of Killeen.

PHYSICAL EXAMINATION:
Vital Signs: Blood pressure 179/106. Pulse 89. Respirations 97.9

General:

 

HEENT: Head is normocophalic, atraumatic. Eyes are equal and
' feactive to light. Extraocutar muscles are intact. Throat:
Mucosa is moist.
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